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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                  United States District Court
                                         Eastern District of California

         UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                    v.                                              (For Offenses Committed On or After November 1, 1987)
         GREGORIO ZAPIEN-MENDOZA                                    Case Number: 2:11CR00365-07


                                                                    Scott Cameron
                                                                    Defendant’ s Attorney

THE DEFENDANT:
[U]     pleaded guilty to count(s): 1 of the Indictment .
[]      pleaded nolo contendere to counts(s)        w hich w as accepted by the court.
[]      w as found guilty on count(s)      after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing offense(s):
                                                                               Date Offense       Count
Title & Section                Nature of Offense                               Concluded        Number(s)
21 USC 846 and 841(a)(1)          Conspiracy to Manufacture Marijuana                 8/22/11              1
                                  Class A Felony




       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      The defendant has been found not guilty on counts(s)              and is discharged as to such count(s).

[U]     Count(s) remaining counts (is)(are) dismissed on the motion of the United States.

[]      Indictment is to be dismissed by District Court on motion of the United States.

[]      Appeal rights given.                        [U]      Appeal rights w aived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                                       3/14/14
                                                             Date of Imposition of Judgment




                                                             Signature of Judicial Officer

                                                             GARLAND E. BURRELL, JR., Senior U. S. District Judge
                                                             Name & Title of Judicial Officer

                                                             3/31/14
                                                             Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:11CR00365-07                                                                Judgment - Page 2 of 6
DEFENDANT:                GREGORIO ZAPIEN-MENDOZA


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 46 months .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the follow ing recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated at Terminal Island, California, but only insofar as
        this accords w ith security classification and space availability.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                         RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                       to

at                                             , w ith a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                             By
                                                                                              Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:11CR00365-07                                                                         Judgment - Page 3 of 6
DEFENDANT:                 GREGORIO ZAPIEN-MENDOZA


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release (unsupervised if deported) for a term of 36
months .


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court' s determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous w eapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply w ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
         16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in w hich he or she resides, w orks, is a student, or w as convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answ er truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w ithout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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DEFENDANT:               GREGORIO ZAPIEN-MENDOZA


                                SPECIAL CONDITIONS OF SUPERVISION
        1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
             States probation officer, or any other authorized person under the immediate and personal
             supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
             Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
             residents that the premises may be subject to searches pursuant to this condition.

        2.   The defendant shall provide the probation officer with access to any requested financial
             information.

        3.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
             treatment program to obtain assistance for drug or alcohol abuse.

        4.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
             breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

        5.   Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant
             is to be surrendered to a duly authorized Immigration official for deportation proceedings in
             accordance with the established procedures provided by the Immigration and Nationality Act.
             If ordered deported, the defendant, during the term of supervised release, shall remain outside
             the United States and shall not re-enter the United States without the consent of the Secretary
             of the Department of Homeland Security of the United States.

             Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in
             person to the United States Probation Office in the Eastern District of California within 72
             hours.

        6.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.

        7.   The defendant shall register, as required in the jurisdiction in which he resides, as a drug
             offender.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:11CR00365-07                                                                           Judgment - Page 5 of 6
DEFENDANT:                    GREGORIO ZAPIEN-MENDOZA


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                        Fine                   Restitution
      Totals:                                         $ 100                            $                         $


[]    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) w ill
      be entered after such determination.

[]    The defendant must make restitution (including community restitution) to the follow ing payees in the amount listed
      below .

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherw ise in the priority order or percentage payment column below . How ever, pursuant to 18 U.S.C.
      § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                       Total Loss*                Restitution Ordered      Priority or Percentage


      TOTALS:                                           $                             $




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
      paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
      payment options on Sheet 6 may be subject to penalt ies f or delinquency and default, pursuant to 18 U.S.C. §
      3612(g).

[ ]        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      []    The interest requirement is w aived for the             [ ] fine              [ ] restitution

      []    The interest requirement for the                [ ] fine [ ] restitution is modified as follow s:




[]    If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]    If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.


  * * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:11CR00365-07                                                                        Judgment - Page 6 of 6
DEFENDANT:                   GREGORIO ZAPIEN-MENDOZA

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follow s:

A    [ ] Lump sum payment of $                 due immediately, balance due

         []        not later than    , or
         []        in accordance w ith    [ ] C,             [ ] D,   [ ] E, or   [ ] F below ; or

B    [U]           Payment to begin immediately (may be combined w ith [ ] C,                        [ ] D, or [ ] F below ); or

C    [ ] Payment in equal    (e.g., w eekly, monthly, quarterly) installments of $    over a period of                  (e.g., months
         or years), to commence      (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., w eekly, monthly, quarterly) installments of $   over a period of   (e.g., months
         or years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release w ill commence w ithin   (e.g., 30 or 60 days) after release
         from imprisonment. The court w ill set the payment plan based on an assessment of the defendant’ s ability
         to pay at that time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherw ise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made tow ard any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the follow ing court cost(s):

[]   The defendant shall forfeit the defendant’ s interest in the follow ing property to the United States:
